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                             EXHIBIT 6
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  10   Lead Counsel for Lead Plaintiff Carl
       Schwartz and the Proposed Settlement Class
  11
  12                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
  13
  14
       TODD SCHUENEMAN, on behalf of                Case No. 3:10-cv-01959-CAB (BLM)
  15   himself and all others similarly
       situated,
  16                                                DECLARATION OF CARL S.
                      Plaintiff,                    SCHWARTZ IN SUPPORT OF
  17                                                (1) LEAD PLAINTIFF’S MOTION
             v.                                     FOR APPROVAL OF
  18                                                SETTLEMENT AND APPROVAL
       ARENA PHARMACEUTICALS,                       OF PLAN OF ALLOCATION;
  19   INC., JACK LIEF, ROBERT E.                   (2) LEAD COUNSEL’S MOTION
       HOFFMAN, DOMINIC P. BEHAN,                   FOR AWARD OF ATTORNEYS’
  20   WILLIAM R. SHANAHAN, and                     FEES AND REIMBURSEMENT OF
       CHRISTY ANDERSON,                            EXPENSES; AND (3) LEAD
  21                                                PLAINTIFF’S REQUEST FOR
                      Defendants.                   REASONABLE COSTS AND
  22                                                EXPENSES
  23                                                Judge: Hon. Cathy Ann Bencivengo
                                                    Courtroom: 4C
  24                                                Hearing Date: April 12, 2018___________
                                                    Hearing Time: 10:30 a.m.
  25
  26
       [Additional Captions on Following Pages]
  27
  28
                                                                Case No. 3:10-cv-01959-CAB (BLM)
              DECLARATION OF CARL S. SCHWARTZ ISO MOTION FOR APPROVAL OF SETTLEMENT,
                      PLAN OF ALLOCATION AND ATTORNEYS’ FEES AND EXPENSES
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   1
       WILLIAM SUTLIFF and JEAN                      Case No. 3:10-cv-01961-CAB (BLM)
   2   SUTLIFF, on behalf of themselves and
       all others similarly situated,
   3
                       Plaintiffs,
   4
             v.
   5
       ARENA PHARMACEUTICALS,
   6   INC., JACK LIEF and WILLIAM
       SHANAHAN, JR.,
   7
                       Defendants.
   8
   9   WILLIAM PRATT, individually and               Case No. 3:10-cv-01977-CAB (BLM)
       on behalf of all others similarly
  10   situated,
  11                   Plaintiff,
  12         v.
  13   ARENA PHARMACEUTICALS,
       INC., JACK LIEF, ROBERT E.
  14   HOFFMAN, DOMINIC P. BEHAN,
       WILLIAM R. SHANAHAN, JR. and
  15   CHRISTY ANDERSON,
  16                   Defendants.
  17
       CRAIG RUBENSTEIN, individually                Case No. 3:10-cv-01984-CAB (BLM)
  18   and on behalf of all others similarly
       situated,
  19
                       Plaintiff,
  20
             v.
  21
       ARENA PHARMACEUTICALS,
  22   INC., JACK LIEF, ROBERT E.
       HOFFMAN, DOMINIC P. BEHAN,
  23   WILLIAM R. SHANAHAN, JR. and
       CHRISTY ANDERSON,
  24
                       Defendants.
  25
  26
       [Additional Captions on Following Page]
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  28
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               DECLARATION OF CARL S. SCHWARTZ ISO MOTION FOR APPROVAL OF SETTLEMENT,
                       PLAN OF ALLOCATION AND ATTORNEYS’ FEES AND EXPENSES
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   1
       RODNEY VELASQUEZ, on behalf of                  Case No. 3:10-cv-02026-CAB (BLM)
   2   himself and all others similarly situated,
   3                    Plaintiff,
   4         v.
   5   ARENA PHARMACEUTICALS, INC.,
       JACK LIEF, ROBERT E. HOFFMAN,
   6   DOMINIC P. BEHAN, WILLIAM R.
       SHANAHAN, JR. and CHRISTY
   7   ANDERSON,
   8                    Defendants.
   9
       THONG VU, individually and on behalf            Case No. 3:10-cv-02086-CAB (BLM)
  10   of all others similarly situated,
  11                    Plaintiff,
  12         v.
  13   ARENA PHARMACEUTICALS, INC.,
       JACK LIEF, ROBERT E. HOFFMAN,
  14   DOMINIC P. BEHAN, WILLIAM R.
       SHANAHAN, and CHRISTY
  15   ANDERSON,
  16                    Defendants.
  17
       ARIC D. JACOBSON, individually and              Case No. 3:10-cv-02355-CAB (BLM)
  18   on behalf of all others similarly situated,
  19                    Plaintiff,
  20         v.
  21   ARENA PHARMACEUTICALS, INC.,
       JACK LIEF, ROBERT E. HOFFMAN,
  22   DOMINIC P. BEHAN, WILLIAM R.
       SHANAHAN, JR. and CHRISTY
  23   ANDERSON,
  24                    Defendants.
  25
  26
  27
  28
                                             - iii -             Case No. 3:10-cv-01959-CAB (BLM)
               DECLARATION OF CARL S. SCHWARTZ ISO MOTION FOR APPROVAL OF SETTLEMENT,
                       PLAN OF ALLOCATION AND ATTORNEYS’ FEES AND EXPENSES
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   1            I, Carl S. Schwartz, pursuant to 28 U.S.C. § 1746, declare as follows:
   2            1.    I submit this declaration in support of (1) Lead Plaintiff’s motion for
   3   final approval of the proposed Settlement and approval of the proposed Plan of
   4   Allocation; (2) Lead Counsel’s motion for an award of attorneys’ fees and
   5   reimbursement of litigation expenses; and (3) approval of the request for Lead
   6   Plaintiff to recover the reasonable costs and expenses directly related to the
   7   representation of the Class in the prosecution of this litigation.
   8            2.    I am aware of and understand the requirements and responsibilities of
   9   a lead plaintiff in a securities class action as set forth in the Private Securities
  10   Litigation Reform Act of 1995. On November 19, 2010, I applied to serve as lead
  11   plaintiff for the above-captioned actions (the “Action”), and on August 8, 2011, I
  12   was appointed lead plaintiff by the Court. ECF Nos. 18, 33.
  13            3.    I have personal knowledge of the matters set forth in this Declaration,
  14   as I have been directly involved in monitoring and overseeing the prosecution of the
  15   Action as well as the negotiations leading to the Settlement, and I could and would
  16   testify competently thereto.
  17            4.    Throughout the Action, I had regular communications with Kaplan
  18   Fox & Kilsheimer LLP (“Kaplan Fox”), Court-appointed Lead Counsel for the
  19   Class.
  20            5.    I, through my active and continuous involvement, supervised,
  21   monitored, and was actively involved in all material aspects of the prosecution of
  22   the Action.
  23            6.    I received regular status reports from Kaplan Fox on case
  24   developments, and participated in regular discussions with attorneys from Kaplan
  25   Fox concerning the prosecution of the Action, the strengths of and risks to the
  26   claims and potential settlement.
  27            7.    In particular, throughout the course of the Action, I:
  28
                                               - 1-                Case No. 3:10-cv-01959-CAB (BLM)
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   1                 (a)   participated in telephonic discussions with Kaplan Fox
   2   concerning significant developments in the litigation, including case strategy;
   3                 (b)   reviewed and commented on all significant pleadings and briefs
   4   filed in the Action and in the United States Court of Appeals for the Ninth Circuit
   5   (“Ninth Circuit”), and reviewed, analyzed and discussed all significant court orders;
   6                 (c)   consulted with Kaplan Fox regarding the retention of experts,
   7   consultants, and other plaintiff’s counsel;
   8                 (d)   reviewed and participated in discovery, including the review and
   9   collection of documents in my possession concerning Arena Pharmaceuticals, Inc.
  10   and providing answers to Defendants’ interrogatories, and preparing for my
  11   deposition;
  12                 (e)   consulted with Kaplan Fox concerning the parties’ August 1,
  13   2017 mediation and related settlement negotiations as they progressed; and
  14                 (f)   evaluated, approved and recommended approval of the proposed
  15   settlement for $12,050,000 million in cash and Arena common stock with a value
  16   of $11,950,000.
  17         8.      I was informed of and updated on the lengthy negotiations in this
  18   Action, which led to the settlement. Prior to the mediation, I conferred with Lead
  19   Counsel regarding the parties’ respective positions and reviewed the parties’
  20   respective mediation statements. I was briefed in detail on the mediation presided
  21   over by the Honorable Layn R. Phillips and subsequent negotiations.
  22         9.      Based on my involvement throughout the prosecution and resolution of
  23   the claims, I endorse the Settlement and believe it provides an excellent recovery
  24   for the Class, particularly in light of the substantial risks of continuing to prosecute
  25   the claims in the Action.
  26         10.     I have approved Lead Counsel’s request for an award of attorneys’
  27   fees in the amount of 30% of the cash consideration and 30% of the Settlement
  28
                                             - 2-                 Case No. 3:10-cv-01959-CAB (BLM)
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   1   Shares and believe that it is fair and reasonable in light of the work Lead Counsel
   2   performed on behalf of the Settlement Class over the course of over seven years.
   3         11.    I take seriously my role as lead plaintiff to ensure that the attorneys’
   4   fees are fair in light of the result achieved for the Settlement Class and reasonably
   5   compensate plaintiffs’ counsel for the work involved and the substantial risks they
   6   undertook in litigating the Action. I have evaluated Lead Counsel’s fee request by
   7   considering the work performed and the substantial recovery obtained for the
   8   Settlement Class.
   9         12.    I further believe that the litigation expenses being requested for
  10   reimbursement by Lead Counsel are reasonable, and represent costs and expenses
  11   necessary for the prosecution and resolution of the claims in the Action. Based on
  12   the foregoing, and consistent with my obligation to the Settlement Class to obtain
  13   the best result at the most efficient cost, I support Lead Counsel’s motion for an
  14   award of attorneys’ fees and reimbursement of litigation expenses.
  15         13.    I also support approval of the proposed Plan of Allocation which is
  16   based on the analysis completed by the damages expert retained in the Action. I
  17   believe that the plan represents a fair and reasonable method for allocating the net
  18   settlement fund to Settlement Class Members whose claims are approved for
  19   payment.
  20         14.    I understand that reimbursement of a lead plaintiff’s reasonable costs
  21   and expenses is authorized under Section 21D(a)(4) of the Private Securities
  22   Litigation Reform Act of 1995, 15 U.S.C. § 78u-4(a)(4).           For this reason, in
  23   connection with Lead Counsel’s request for reimbursement of litigation expenses, I
  24   seek reimbursement for the costs and expenses that I incurred directly relating to its
  25   representation of the Settlement Class in the Action.
  26         15.    I spent a total of at least 50 hours on the prosecution of this Action for
  27   the benefit of the Settlement Class over the course of over seven years performing
  28   the work described above. The time that I devoted to the representation of the
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